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         Case 1:21-cv-03590-CAP Document 1-1 Filed 08/30/21 Page 1 of GWINNETT   OF STATE COUR
                                                                                         GEORGI
                                    Exhibit A                                  21-C-05618-S
                                                                           7/29/2021 5:05 PP
                                                                                     TIANA P. GARNER,CLER

                     IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

GEORGE WESLEY MORGAN                                     CIVIL ACTION FILE
and PEGGY KATHRYNE MORGAN,
                                                         NO.    21-C-05618-S5
       Plaintiffs,

V.

BELK,INC.(DE),                                           JURY TRIAL DEMANDED

       Defendant.


                                        SUMMONS

TO THE ABOVE-NAMED DEFENDANTS:

      You are hereby summoned and required to file with the Clerk of said court and serve
upon the Plaintiffs attorney, whose name and address is:

                                      Lance T. McCoy
                                   The McCoy Law Firm
                                 775 West Avenue, Suite E
                                Cartersville, Georgia 30120

an answer to the Complaint which is herewith served upon yo   . u,within thirty(30)days after
service of this Summons upon you, exclusive of the day of service. If you fail to do so,
judgment by default will be taken against you for the relief demanded in this Complaint.
               29TH
       This the     day of July, 2021.             TIANA P. GARNER
                                             Clerk/Deputy Clerk of Superior Court


                                             By:
                                                                                           E-FILED IN OFFICE - E
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         Case 1:21-cv-03590-CAP Document 1-1 Filed 08/30/21 Page 2 of GWINNETT  OF STATE COUR
                                                                                       GEORG!
                                                                               21-C-05618-S
                                                                           7/29/2021 5:05 Pr
                                                                                        TIANA P. GARNER,CLER

                     IN THE STATE COURT OF GVVINNETT COUNTY
                                STATE OF GEORGIA

GEORGE WESLEY MORGAN                           )           CIVIL ACTION FILE
and PEGGY KATHRYNE MORGAN,                     )
                                                           No. 21-C-05618-S5
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )
                                               )
BELK,INC.(DE),                                 )           JURY TRIAL DEMANDED
                                               )
       Defendant.                              )

                                        COMPLAINT

       COME NOW Plaintiffs George Wesley and Peggy Kathryne Morgan,and respectfully show

this Honorable Court the following:

                                                1.

       Plaintiffs George Wesley and Peggy Kathryne Morgan reside in Euharlee, Bartow

County, Georgia.

                                                2.

       Defendant Belk,Inc.(DE)("hereinafter Defendant Belk")is a foreign corporation registered

to do business in the State of Georgia. Defendant Belk may be served with a copy of the Complaint

and Summons by and through its registered agent, to wit: National Registered Agents, Inc., 289 S.

Culver Street, Lawrenceville, Georgia, 30046-4805. Therefore, Defendant Belk is subject to the

venue and jurisdiction of this Court.

                                          COUNT I
                                        NEGLIGENCE

                                                3.

       Defendant Belk owns and operates a business establishment, open to the general public,

located at 600 Cherokee Place, Cartersville, Georgia, 30121.


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                                                  4.

       On or about August 20,2019,Plaintiff George Wesley Morgan, an invitee, was shopping at

said Belk store.

                                                  5.

       Plaintiff Morgan was walking down a men's department aisle in a safe and prudent manner

and was browsing the display for potential purchases.

                                                  6.

       Unbeknownst to Plaintiff George Morgan,as he rounded the corner of the neighboring aisle,

a cargo pallet cart sat in the walkway, sitting directly on the floor in an improbable position.

                                                  7.

      Plaintiff George Morgan tripped on the pallet, and fell face first onto the floor, suffering
                                                                      •
numerous serious injuries.

                                                  8.

       Said cargo pallet cart was not observable at eye level.

                                                  9.

       Plaintiff Morgan did not see the cargo pallet cart prior to his fall, nor could he have been

reasonably expected to see the cargo pallet cart given its position.

                                                  10.

       The cargo pallet cart was negligently left in the walkway of this particular aisle.

                                                  11.

       The cargo pallet cart, which tripped Plaintiff George Morgan is used to transport products

throughout the store.




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                                                    12.

       Defendant Belk had superior knowledge to that of Plaintiff George Wesley Morgan of the

existence of the cargo pallet carts in the subject store.

                                                   13.

       The purpose of the cargo pallet carts is to simplify the transportation process within the store.

                                                   14.

       Although the cargo pallet cart simplified Defendant Belk's transporting process, the

abandoned and unmarked cargo pallet cart endangered Plaintiff George Wesley Morgan and

Defendant Belk's invitees.

                                                   15.

       Defendant Belk negligently breached its duty to maintain its premises in a safe fashion.

                                                   16.

       Plaintiff George Wesley Morgan hit the floor with such an impact that he suffered serious

and permanent injuries which included a pelvic fracture, labral tear, lumbar disc herniation, and a

cervical disc herniation.

                                                   17.

       Plaintiff George Wesley Morgan's injuries required multiple hospitalizations and surgeries.

                                                   18.

       To date, Plaintiff George Wesley Morgan's medical expense for surgeries, hospitalizations

and other medical treatment for injuries sustained in his fall at the Belk store has exceeded $245,000.

                                                   19.

       Plaintiff George Wesley Morgan's injuries were caused directly and proximately by the

negligence of Defendant Belk.



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                                                    20.

        Defendant Belk is indebted to Plaintiff George Wesley Morgan in an amount to be shown by

the evidence at trial for his past medical expense,future medical expense, permanent disability, as

well as past and future pain and suffering.



                                           COUNT II
                                     LOSS OF CONSORTIUM

                                                   21.

       Plaintiff Peggy Kathryne Morgan hereby incorporates the allegations ofParagraphs 1 through

20 of the Complaint as if set forth in their entirety.

                                                   22.

        At all times material to this action, Plaintiffs George and Peggy Morgan were married and

living together as husband and wife.



                                                   23.

        As a direct and proximate result of the negligence of Defendant Belk, as aforesaid, Plaintiff

Peggy Morgan has been deprived of the society, services and affections of her husband, George

Wesley Morgan.

                                                   24.

       Plaintiff Peggy Morgan hereby makes a claim for damages against Defendant Belk for her

loss of consortium in an amount to be determined at trial.

          WHEREFORE,Plaintiffs pray:

       (a)      That the summons issue requiring Defendant Belk to be and appear in this Court

within the time provided by law to answer this Complaint;


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       (b)     That Plaintiffs be afforded a trial by jury;

      (c)      That Plaintiffs havejudgment against Defendant for ajust and equitable sum that will

fairly and adequately compensate them for the losses and damages they have sustained and will

sustain, plus interest as provided by law and costs of Court; and

      (d)      For such other and further relief as the Court deems just and proper.

                                                      Respectfully submitted,


                                                                    774c_
                                                      Lance T. McCoy
                                                      Georgia Bar No.486215
                                                      Attorney for Plaintiff


The McCoy Law Firm, LLC
775 West Avenue, Suite E
Cartersville, Georgia 30120
770.382.0984 Phone
770.382.3679 Fax




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